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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  INDIANA STATE CONFERENCE OF THE                   )
  NATIONAL ASSOCIATION FOR THE                      )
  ADVANCEMENT OF COLORED PEOPLE, et                 )
  al.                                               )
                                                    )
                              Plaintiffs,           )
                                                    )
                         v.                         )       No. 1:17-cv-02897-TWP-MPB
                                                    )
  CONNIE LAWSON, et al.                             )
                                                    )
                              Defendants.           )


                                      SCHEDULING ORDER

         The above case is hereby assigned for a TELEPHONIC STATUS CONFERENCE on

  JULY 21, 2020 at 3:00 p.m., Indianapolis time (EST), before the Honorable Matthew P.

  Brookman, United States Magistrate Judge. The information needed by counsel to

  participate in this telephonic conference will be provided by a separate notification.

         SO ORDERED.

  Dated: July 20, 2020




  Served electronically on all ECF-registered counsel of record.
